  Fill in this information to identify the case:

               Pinnacle Regional Hospital, Inc.
  Debtor name __________________________________________________________________

                                          Kansas City
  United States Bankruptcy Court for the:_______________________             Kansas
                                                                 District of ________
                                                                             (State)
  Case number (If known):      20-20219
                              _________________________                                                                              ! Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   !      No. Go to Part 2.
                                                          See EX-AB-1-ALL, attached hereto
   !      Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   !      No. Go to Part 3.
                                                                  None Identified by Debtor
   !      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________

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  Official Form 206A/B                                    Schedule A/B: Assets         Real and Personal Property                              page 1
Debtor         _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    ! No. Go to Part 4.                                   See EX-AB-3-BVH, attached hereto
    ! Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ #                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ #                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    ! No. Go to Part 5.                                         None Identified by Debtor
    ! Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.


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Official Form 206A/B                                        Schedule A/B: Assets       Real and Personal Property                               page 2
Debtor          _______________________________________________________                   Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    ! No. Go to Part 6.                                   See EX-AB-5-ALL, attached hereto
    ! Yes. Fill in the information below.
     General description                            Date of the last      Net book value of    Valuation method used         Current value of
                                                    physical inventory    debtor's interest    for current value             debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    !     No
    !     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    !     No
    !     Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    !     No
    !     Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    ! No. Go to Part 7.
                                                                 None Identified by Debtor
    ! Yes. Fill in the information below.
      General description                                                 Net book value of    Valuation method used         Current value of debtor’s
                                                                          debtor's interest    for current value             interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________       $______________________
                              Case 20-20219               Doc# 157-1          Filed 04/16/20        Page 3 of 42
Official Form 206A/B                                      Schedule A/B: Assets    Real and Personal Property                              page 3
Debtor         _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    ! No
    ! Yes. Is any of the debtor’s property stored at the cooperative?
      ! No
      ! Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ! No
    ! Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

    ! No
    ! Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    ! No
    ! Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ! No. Go to Part 8.                                   See EX-AB-7-ALL, attached hereto
    ! Yes. Fill in the information below.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    ! No
    ! Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    ! No
    ! Yes
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Official Form 206A/B                                       Schedule A/B: Assets       Real and Personal Property                              page 4
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    ! No. Go to Part 9.                                   See EX-AB-8-ALL, attached hereto
    ! Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    !     No
    !     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    !     No
    !     Yes




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 Official Form 206A/B                                       Schedule A/B: Assets    Real and Personal Property                             page 5
Debtor          _______________________________________________________                          Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    ! No. Go to Part 10.                                          None Identified by Debtor
    ! Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    !     No
    !     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    !     No
    !     Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    ! No. Go to Part 11.                                          None Identified by Debtor
    ! Yes. Fill in the information below.
      General description                                                         Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




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Official Form 206A/B                                          Schedule A/B: Assets       Real and Personal Property                              page 6
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    !    No
    !    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    !    No
    !    Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    !    No
    !    Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    !     No. Go to Part 12.
    !     Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =#   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    Potential damage claim for Medicare license proceeding
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    !    No
    !    Yes
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Official Form 206A/B                                        Schedule A/B: Assets        Real and Personal Property                              page 7
Debtor            _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________


83. Investments. Copy line 17, Part 4.                                                                   $_______________

84. Inventory. Copy line 23, Part 5.                                                                     $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . ..................................................................................... #              $________________

89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        +    $_______________


91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




                                                                                                                                                                     See Attached Exs.
                                                                                                                                                                    $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................




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Official Form 206A/B                                                       Schedule A/B: Assets                Real and Personal Property                                   page 8
                                      .:/0,08

                               .:#+,#%#+11
3GL? # 8BCK CK ; DCKLCFA G@ LB? ;==GMFLK MK?> <P ;DD /?;DLB=;J? -?<LGJK$




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Case 20-20219   Doc# 157-1   Filed 04/16/20   Page 10 of 42
                                   .:/0,08

                            .:#+,#&#,9/
3GL? Q +EGMFL G@ ;==GMFLK J?=?CN;<D? J?HGJL?> <P -?<LGJK




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                                                                                              .e*ghd+dd        .e*ghd+dd
                               .f*jdd+dd      .m*kmj+ld       .f*idd+dd         .idd+dd      .ji*kki+hi       .le*ekf+fi
                                                            .efj*ehm+dl                         .fdd+dd      .efj*ghm+dl
                                                                                             .ki*hdg+di       .ki*hdg+di
                              .fj*mgi+dd     .gf*ikd+dd       .e*ldd+dd                     .fmd*dgg+ki      .gie*ggl+ki
                               .i*gdd+dd    .kmd*ejh+li     .heh*egd+kk     .egm*dmj+dh   .e*hig*hfm+id    .f*ldf*efe+ej
                                                                .fdd+dd         .hdd+dd       .i*dei+ld        .i*jei+ld
                                                                                              .i*lki+dd        .i*lki+dd
                               .g*hjl+dd        .gdd+dd                      .ee*kmh+fd     .geh*khj+mf      .ggd*gdm+ef
                                                .hdd+dd                                         .jdd+dd        .e*ddd+dd
                                                                                              .f*kfj+jd        .f*kfj+jd
                                                                                             .ed*hkd+dd       .ed*hkd+dd
                                                                                                 .fe+dg           .fe+dg
                                                                              .g*ddd+dd                        .g*ddd+dd
                              .eh*mml+hd     .mg*jeh+dd     .ehm*hjk+ld     .eje*egk+fd   .e*gmd*dmh+gm    .e*ldm*gee+km
                                                .gdd+dd                                      .hm*gli+fd       .hm*jli+fd
                                                                                            .eid*mlj+fk      .eid*mlj+fk
                                                                                                .gdd+dd          .gdd+dd
                                             .ff*lhd+ik       .k*gld+dd         .gdd+dd      .lh*ehm+fd      .eeh*jjm+kk
                                                .hdd+dd         .hdd+dd         .hdd+dd      .kj*elj+gd       .kk*glj+gd
                                            .ilh*lkf+dj                                                      .ilh*lkf+dj
                                 .idd+dd      .h*ddd+dd       .j*ddd+dd         .idd+dd    .eji*jhd+id       .ekj*jhd+id
                              .gh*dml+dm                                                    .glm*fej+eg      .hfg*geh+ff
                                             .em*lil+ld       .e*gdd+dd       .e*idd+dd    .fhd*hmi+md       .fjg*eih+kd
                                                .idd+dd     .efi*jjf+jf         .idd+dd   .e*hej*ife+ll    .e*ihg*elh+id
                                                              .h*ifj+dd                                        .h*ifj+dd
                                              .m*mfh+ld                                                        .m*mfh+ld
                             .ege*dem+li    .emj*eif+kh     .ejk*ldh+ld     .gjh*hgf+lm   .f*gme*dke+kk    .g*fid*hlf+di
                                                .idd+dd                                                          .idd+dd
                                 .ldd+dd     .gi*fdh+ld         .kdd+dd      .ed*ggg+id     .kdk*hge+ff      .kih*hjm+if
                              .gl*ghl+gg    .jfg*hef+em                                     .lml*gim+jh    .e*ijd*efd+ej
                                                .hdd+dd         .hdd+dd                                          .ldd+dd
                                                                                             .ei*lje+ej       .ei*lje+ej
                                                                                              .f*jge+kk        .f*jge+kk
                                                                                             .el*hkk+dd       .el*hkk+dd
                                             .ee*ffd+dd       .m*gdj+dd                     .ijf*jgg+ll      .ilg*eim+ll
                                                                                              .g*fkj+dd        .g*fkj+dd
                             .fgf*lkd+ll                                                    .fim*lhl+fe      .hmf*kem+dm
                                                                                             .gm*ggi+md       .gm*ggi+md
                               .e*ddd+dd      .k*hkm+gd       .e*idd+dd       .e*gfe+dd      .hm*jji+lf       .jd*mjj+ef
                                                .kdd+dd                                      .eh*ilg+dd       .ei*flg+dd
                                                                                             .ed*ikd+dd       .ed*ikd+dd
                                                                .ldd+dd                                          .ldd+dd
                                                                                             .ek*fid+dd       .ek*fid+dd
                                                                .fdd+dd         .ldd+dd                        .e*ddd+dd
                              .fm*hdl+dd    .fmj*iif+el     .ehi*mmj+fk     .fdk*ked+ek   .f*dli*hlm+lh    .f*kji*eij+hj
                             .fed*jkh+if    .hfm*lhh+hi     .ekk*gki+hi     .fik*jgf+il     .mll*egk+fj    .f*djg*jjh+fj
                                                                                             .ee*eje+dd       .ee*eje+dd
                                                                                              .j*jld+dd        .j*jld+dd
                                                                                             .ei*ffg+ld       .ei*ffg+ld
                                                                                             .hm*kmf+jd       .hm*kmf+jd
                                                                                                .hdd+dd          .hdd+dd
                                                .hdd+dd                                     .ihj*lem+hl      .ihk*fem+hl
                                            .gfh*egf+li                                                      .gfh*egf+li
                                            .jli*klh+lg                      .ie*dkm+hd     .hlh*fhj+kd    .e*ffe*eed+mg
                                                                                            .eei*hld+dd      .eei*hld+dd
                                                               .hdd+dd                                           .hdd+dd
                                                             .kl*kfm+ld                                       .kl*kfm+ld
                                                .idd+dd                                                          .idd+dd
                                                                                             .ld*fde+hd       .ld*fde+hd
                                                                                             .ef*mfh+fd       .ef*mfh+fd
                                                                                            .igd*dmj+kk      .igd*dmj+kk
                                                                                                .hdd+dd          .hdd+dd
                                             .ke*iej+fd      .fm*dlf+hd        .h*ifj+dd   .elh*fgh+gg       .flm*gil+mg
                                                                                            .fld*ldf+jd      .fld*ldf+jd
                                                                                          .e*dhk*ijg+gk    .e*dhk*ijg+gk
                                                                                             .md*ilm+dd       .md*ilm+dd
                              .fi*igl+gd    .eeg*dlj+ld       .km*jjd+ee    .ghg*lid+kj    .jjd*ggd+fm     .e*fff*hjj+fj
                                           .f*hdk*fdh+md   .g*dem*gjj+dj   .e*did*hmj+fm .eg*djl*ihe+lh   .em*ihi*jdm+dm
                                                                                            .fgk*kmm+hi      .fgk*kmm+hi
                                                                                              .j*jli+dd        .j*jli+dd
                                                 .hm+if         .fdd+dd                       .f*fdd+ml        .f*hid+id
                                                                .gdd+dd                                          .gdd+dd
                                             .ed*jil+dd                                                       .ed*jil+dd
                                                                                             .gd*jie+jd       .gd*jie+jd
                                .gdd+dd                                                      .ee*jhg+dd       .ee*mhg+dd
                                              .l*efm+dd                                        .gdd+dd         .l*hfm+dd
                                                                                               .jdd+dd           .jdd+dd
                                                .hdd+dd         .kdd+dd                                        .e*edd+dd




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                                .e*ddd+dd                                       .hdd+dd       .ggf*dkj+hd      .ggg*hkj+hd
                                                .g*hkm+gd                                     .fgj*lki+fm      .fhd*gih+im
                                  .jdd+dd                                       .hdd+dd        .lj*lkm+dg       .lk*lkm+dg
                                                                                                .e*dfd+dd        .e*dfd+dd
                                                                                                  .ffd+md          .ffd+md
                                                                    .fd+dd                         .jj+lf           .lj+lf
                                 .l*lgg+id       .e*hdd+dd         .kdd+dd    .jl*gkh+em      .iee*jke+ff      .imd*mkl+me
                             .i*mmg*jij+kl   .g*edj*mgg+mj   .j*heg*gef+ih   .kdh*gme+kf    .j*gml*lkh+ee   .ff*jek*ejm+ee
                                                   .gdd+dd       .h*ifj+dd                  .e*hlf*ldj+gk    .e*hlk*jgf+gk
                                                                                                .j*jld+dd        .j*jld+dd
                                                                                .gdd+dd                            .gdd+dd
                                                                                                .h*geg+ie        .h*geg+ie
                                                                                                .h*ifj+dd        .h*ifj+dd
                                                                                                  .edg+di          .edg+di
                                                                                                .e*fld+dd        .e*fld+dd
                                                                                               .gh*gdg+ld       .gh*gdg+ld
                               .gl*mfd+ej     .lde*lde+jl         .gdd+dd       .mdd+dd        .hd*mhh+fd      .llf*ljj+dh
                                                                                               .fg*idh+hd       .fg*idh+hd
                                                  .gdd+dd         .gdd+dd       .gdd+dd        .he*ddg+dd       .he*mdg+dd
                                                                                                .e*gej+dd        .e*gej+dd
                                                  .fdd+dd         .fdd+dd       .fdd+dd        .gh*kek+dd       .gi*gek+dd
                                               .em*mid+dd                                      .ed*ijf+gd       .gd*ief+gd
                                                                                               .ee*fke+dd       .ee*fke+dd
                                                                                                  .ilj+hf          .ilj+hf
                                                  .gdd+dd                                      .gg*gdh+gh       .gg*jdh+gh
                                                                                                .m*gik+dd        .m*gik+dd
                                                                                                  .eem+ek          .eem+ek
                                                                                                  .gfd+il          .gfd+il
                                                   .gdd+dd        .hdd+dd        .jdd+dd       .hf*edd+fd       .hg*hdd+fd
                                                .ej*gif+ld        .idj+ie     .fj*gjf+ld      .eji*mkf+hf      .fdm*emh+ig
                                                   .idd+dd                                    .ifi*hlh+fm      .ifi*mlh+fm
                              .gdh*jif+fi      .kek*jeg+ek   .e*gkf*ijk+ld .lhh*flm+eh     .ed*ehl*mem+gh   .eg*gll*dhe+kd
                                  .ldd+dd        .k*edd+dd      .kl*kdi+ld    .j*edd+dd       .fle*eme+jd      .gkg*lmk+hd
                                .e*ide+dd       .gk*iie+jd       .k*gdd+dd   .gh*leh+hd       .ekk*gjm+dd      .fil*igj+dd
                               .ik*ldg+ld       .lf*hlk+jd     .ekh*iii+dd .heh*fhg+gk      .f*fim*ehe+kg    .f*mll*fge+id
                               .ej*flm+dd      .fkg*ffl+hd    .fgj*dhe+dd .elm*kke+dd       .f*emk*lmf+jl    .f*meg*fff+dl
                              .fel*edf+lj    .e*djk*mji+gd    .eih*lii+mi .e*ddk*hfm+kh     .g*jlg*dek+dd    .j*ege*gkd+li
                              .efk*dmj+dg      .lhd*hfi+he   .e*hgm*fje+dm .hde*efl+ld      .f*mkm*hmi+hh    .i*klk*hdj+kk
                                                .fg*jmf+ld                                    .fhi*fek+gj      .fjl*med+ej
                               .gd*mdh+mi      .gge*fki+dk      .e*idd+dd                       .e*fdd+dd      .gjh*lld+df
                                                                                               .em*fme+dd       .em*fme+dd
                                                                                               .fl*ljf+hd       .fl*ljf+hd
                                                                                                  .gdd+dd          .gdd+dd
                                               .fl*kel+dd      .fi*fdm+jd       .gdd+dd       .gjm*gdg+ed      .hfg*igd+kd
                                               .jh*lel+hl       .h*ehj+dd                     .hif*ffl+il      .ife*emg+dj
                               .gf*jld+fd      .jk*jie+jd      .ji*hmh+ee     .ed*eem+dd      .hkd*kkl+gi      .jhj*kfg+fj
                                  .hdd+dd                         .fjd+dd                      .eg*gdj+he       .eg*mjj+he
                               .fi*ikk+md      .he*hjh+jd       .h*fdi+dd     .fi*mdd+kd   .eh*kdh*ehf+hd   .eh*lde*fmd+jd
                                                                                                .i*mdk+kd        .i*mdk+kd
                                                                                               .jl*ehf+fh       .jl*ehf+fh




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                                    .:/0,08

                              .:#+,#'#+11
3GL? Q 0FN?FLGJP O;K J?HGJL?> <P -?<LGJK GF ; =GFKGDC>;L?> <;KCK$




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Case 20-20219   Doc# 157-1   Filed 04/16/20   Page 15 of 42
                                    .:/0,08

                              .:#+,#(#+11
3GL? Q 4@@C=? @MJFCLMJ? ;F> ?IMCHE?FL J?HGJL?> GF ; =GFKGDC>;L?> <;KCK$




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,Gbe ¢
+NN[HM &mb_[embM
                                                                                             %MabMH[Ge[`_
&GH[^[eo           'M_MbG^ %McHb[ae[`_   *Me #``] /G^mM   /G^mGe[`_ )MeZ`L   $mbbM_e /G^mM   -HZMLm^M       "aabG[cML
"^^                "^^                   ¡ ¡(           #``] /G^mM         ._]_`n_         *"            _`




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                                    .:/0,08

                              .:#+,#)#+11
3GL? # .IMCHE?FL ;F> N?BC=D?K HJGNC>?> CF GF? J?HGJL @GJ ;DD =GEH;FC?K$




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*Ead 
)EGXY]Kao %`lY_\K]d ^a -KXYG[Kb
+KK ,EF &"  $K_a +GXKJl[K d^ L^[[^m
(KEbKJ

(45898>?   17:6;< )'             17:6;<                             %66<7== 98:7 #                  %66<7== 98:7 $   &8>? /0 3)-
#-'        2PNNHRFKEM 2EQKTEM    2PNNHRFKEM 2EQKTEM 2PNQEOX# 992    .('+ :HMRPSH 3RKVH# >TH '&&                      9HOHWE# 8> ,,('*
#-'        6KTEFJK :HGKFEM >XS   6KTEFJK 6HEMTJFERH 0NHRKFES 2PRQ   3HQT -.')-.                     <%;% 1PW -.&&&   3HTRPKT# :7 *.(-.
#-'        ;42 :HGKFEM >XSTHNS   ;42 :HGKFEM >XSTHNS 7OF%           (/.* 2PMMHFTKPOS 2HOTHR 3RKVH                    2JKFEIP# 79 ,&,/)
#-'        4VHR1EOL              ?700 1EOL                          <; 1PW /'',&.                                    3HOVHR# 2; .&(/'$',&.n
#-'        DKNNHR                DKNNHR @># 7OF                     -+ =HNKTTEOFH 3RKVH             >UKTH ,/)'       2JKFEIP# 79 ,&,-+$,/)'




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8;H76 3EE7FE                                                                    0/*434*.37,24

                                                                                 FAF3>          5]ZZNV\ GJT]N
              G7@6AD            ;@G 63F7               67E5D;BF;A@               5AEF
EXZQVPOQNTM

GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
K%C :`_decfTeZ`_                /0-1/-/5    eV_R_e Z^ac`gV^V_e                    /..*254,2/           ..%+/*'/0
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/',/
                                                                                  *)1%0-1'0-           .1%2,*',,




;VMNXNVMNVLN
>]`SR] JeRc DVUZTR]             .7-.7-.6    T+Rc^ eRS]V U`h_aRj^V_e                 /*72.,..                )'))
>]`SR] JeRc DVUZTR]             .7-03-.6    T+Rc^ eRS]V SR]R_TV                     /*72.,..                )'))
>]`SR] JeRc DVUZTR]             .7-03-.6    T+Rc^ eRS]V SR]R_TV                     /*72.,..                )'))
GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
K%C :`_decfTeZ`_                /0-1/-/5    eV_R_e Z^ac`gV^V_e                      7*713,27            .%-/-'./
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                   +-%)+0'1+                )'))




E\' >W]Q[

GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                   *-%2--'//            0%,,2',+




A^NZTJVM BJZS

GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                    /1*122,44            0%,,2'.2
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                                            )'))
                                                                                   *-%2--'//            1%,+/'*1




@ =JV[J[ 5Q\_
:cVReZgV KVTY_`]`Xj             //-.6-.7    1 UV]] `aeZa]Vi W`c _\T                 2*/07,.7                )'))
:cVReZgV KVTY_`]`Xj             //-/1-.7    _VeXVRc TRS]V _\T                         575,0.                )'))
>]`SR] JeRc DVUZTR]             ./-.4-/.    :C /... T+Rc^ eRS]V                     1*66.,..                )'))
>cRj]Z_X @_T                    .0-00-/.    _\T `WWZTV SfZ]U`fe                    /3*402,..                )'))
GYZ]]Zad ?VR]eYTRcV + <B>       /0-./-/5    <B>                                     4*450,11            ,%//2'//
K%C :`_decfTeZ`_                /0-1/-/5    eV_R_e Z^ac`gV^V_e                     /4*/67,/0            1%2),'21
KR]]XcRdd KVTY_`]`XZVd          .2-/2-/6    CV_`g` KYZ_\aRU                         /*4..,..              21/'.2
                                                                                   -1%12*'0-           *+%.0,'/-


E\>&BJZSNZ

I`[R_R IVR]ej                   /0-1/-/5    eV_R_e Z^ac`gV^V_e                       0*163,52           *%,*+'++

                                                                                     +%,1.'0-           *%,*+'++


BJWTJ

I`[R_R IVR]ej                   /0-1/-/5    eV_R_e Z^ac`gV^V_e                    0.3*412,60          **,%)22')0


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8;H76 3EE7FE                                                                        0/*434*.37,24

                                                                                     FAF3>          5]ZZNV\ GJT]N
            G7@6AD                  ;@G 63F7              67E5D;BF;A@                5AEF

                                                                                      +).%/,-'1+          **,%)22')0


@N^JMJ

I`[R_R IVR]ej                       /0-1/-/5    eV_R_e Z^ac`gV^V_e                     5/*6.2,2.           ,2%-2+'-+

                                                                                       0*%1)-'-)           ,2%-2+'-+




5WT]UKQJ

GYZ]]Zad ?VR]eYTRcV + <B>             /0-./-/5 <B>                                       4*450,11           ,%//2'//

                                                                                         /%/0+',,           ,%//2'//




4G:
                                                hZcV]Vdd aY`_V T`__VTeZ`_ SVehVV_
8TeZgV KV]VT`^ + /-0 U`h_ W`c SgY   .5-1/-/.    SfZ]UZ_Xd                              /3*22.,.2                )'))
Re]Rd gR_ ]Z_Vd                     .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e         /*3.4,03                )'))
T]f_V                               .5-1/-/.    T+Rc^                                  53*3.5,10                )'))
TV_efcZ`_                           .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e        5.*.5/,1.                )'))
T`^a ecR_da`ce                      .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e         /*157,..                )'))
TcReVcd R_U WcVZXYe                 .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e           /13,..                )'))
WcVZXYebf`eV                        .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e         1*662,.6                )'))
XdR                                 .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e        0.*/36,..                )'))
DRbfVe* @_T,                        .5-1/-/.    ]ZXYe % S``^ Z_deR]]                   //*.03,30                )'))
fad                                 .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e           52/,03                )'))
gRTff^ djdeV^                       .5-1/-/.    ^ZdTV]]R_V`fd ^VUZTR] VbfZa^V_e        /.*541,03                )'))
T]f_V                               /.-1/-//    deVcZd                                 /5*3/3,06                )'))
><                                  /.-1/-//    T`aZVcd                                07*124,13                )'))
F]j^afd                             //-.6-//    gZUV` XRdec`dT`aV                      /3*026,13                )'))
@^RXV HfVde                         /0-0.-//    :`]`c HfSV :`aZVc                      /1*404,66                )'))
IRUd`fcTV                           ./-/.-/0    T+Rc^ U`h_aj^e                         12*7..,..                )'))
:]RWZ_ DVUZTR]                      ./-/.-/0    SVU                                     5*6/6,26               #)'))$
J^ZeY EVaYVh                        ./-05-/0    [`Z_e acVdVcgReZ`_ VbfZa                7*55.,25                )'))


J^ZeY EVaYVh                        ./-1/-/0    [`Z_e acVdVcgReZ`_ VbfZa               15*42/,64                )'))
:]RWZ_ DVUZTR]                      ./-1/-/0    SVUd + 0                               /3*414,74               #)'))$
J^ZeY EVaYVh                        .0-.6-/0    VbfZa^V_e                              /3*636,32                )'))
DVdR DVUZTR]                        .0-07-/0    e`fc_ZbfVe djdeV^                       3*53.,..                )'))
F]VX Ifed\Z_                        .1-/0-/0    decj\Vc TU1                             4*43.,..                )'))
DKD DVUZTR]                         .1-1/-/0    decj\Vc UcZ]]                           6*0..,..                )'))
;V_eR] G]R_Ve                       .1-1/-/0    RdVaeZT` _`^RU ac`                      6*.63,..                )'))
IRUd`fcTV @^RXZ_X                   .2-.7-/0    T+Rc^ SR]                              31*256,..                )'))
:]RfUV                              .3-02-/0    UV_eR] VbfZa^V_e                        3*773,..                )'))
@^RXV HfVde                         .5-/1-/0    h`c\TV_ecV 5/03GK T`aZVc                5*215,.7                )'))
:cVReZgV KVTY_`]`Xj J`]feZ`_d       ./-./-/1    dVcgVc                                 /.*01/,24                )'))
MVcReY`_* @_T                       .2-07-/1    X]ZUVdT`aV                             /0*356,0.                )'))




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8;H76 3EE7FE                                                                          0/*434*.37,24

                                                                                       FAF3>          5]ZZNV\ GJT]N
            G7@6AD                ;@G 63F7                67E5D;BF;A@                  5AEF




:`_^VU                            .1-05-/1    UcZ]] R_U ReeRTY^V_ed                      32*7/2,03                )'))
8]]V_ DVUZTR] JjdeV^d             .4-04-/1    R]]V_ S`h WcR^V                             5*161,31               #)'))$



Jecj\Vc <_U`dT`aj                 .6-/4-/1    6 ]RaRc`dT`aV % 2 TRS]Vd                   1/*.51,30                )'))
JfcXZTR] 8UgR_eRXV                .7-//-/1    eZeR^Zf^ SS Vie cVecRTe`c                  /6*171,66                )'))
8U^Rc ;ZRX                        /.-0.-/1    _Vfc`^Ri djdeV^-deR_U                       5*/2.,..                )'))
DVU]Z_V                           ./-01-/2    Vdf ZUd 0.. XV_VcRe`c % TRce                5*3.4,06               #)'))$
8^\RZ                             .2-./-/2    V^c                                       157*51.,41                )'))
                                              0 IVWfcSZdYVU RVdeZgR R_VdeYVdZR
9V]] DVUZTR]                      .2-./-/2    ^RTYZ_Vd hZeY MV_eZ]                       07*270,3.               #)'))$
ADG                               /0-1/-/2    ?`_UR FUVddj                                3*...,..                )'))
ADG J`]U e` ;`fX aR]kVc /-06-0.   /0-1/-/2    CZ_T`]_ :Rc                                 3*...,..                )'))
<gVcSR_\                          /0-1/-/2    e` cVT`cU :Ra CVRdV                       0.2*/55,..                )'))
LJ 9R_\                           /0-1/-/2    e` cVT`cU :Ra CVRdV                       /21*/34,..               #)'))$
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    ZUcZgV f]ecR a`hVcVU YR_U]V /               5*...,..              1*/'-2
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
:`gZUZV_                          /.-05-/3    V_U` XZR RURaeVc i]                         1*3..,..              -)1'.*
Jfaa]j2>@ CC:                     /.-00-/3    DVUZgRe`cd ;J;                              7*...,..            *%).)'))
;`fX GR]kVc                       /.-07-/3    GfcTYRdV `W 0./0 AVVa MVYZT]V              00*...,..            +%.//'-2
;`fX GR]kVc                       /0-1/-/3    GfcTYRdV `W 0./0 ?`_UR FUdVddj             00*/30,..            ,%/2+'))
=`cU 9fdVd                        /0-1/-/3    cT]d SfddVd                               //3*73.,..           *2%,+.'))
LJ 9R_\                           /0-1/-/3    LJ SR_\ ]VRdV T`ccVTeZ`_                  /.0*771,..                )'))
                                              Jecj\Vc Df]eZXV_ I=8 >V_VcRe`c
                                              'Z_T]fUVd YR_UYV]U T`_ec`]]Vc R_U
CR_V :, GVeVcd`_                  ./-04-/4    V]VTec`UVd(                                /3*...,..            +%.))'))
CR_V :, GVeVcd`_                  ./-04-/4    NZ_T` DVUZTR] IVT]Z_Vc :YRZcd )1            /*0..,..              +))'))
F]ReYV =`cU JR]Vd                 ./-0.-/4    =`cU KcR_dZe MR_                           46*/36,75           **%,.2'20
:`gZUZV_                          .0-.0-/4    MC=K/.>V_ <_VcXj G]ReW`c^                  0.*...,..            ,%///'1,
DVcTVUVd+9V_k `W B:               .1-.7-/4    0./3 DVcTVUVd JacZ_eVc                     77*165,.3           +*%.,,'2)
DVcTVUVd+9V_k `W B:               .1-.7-/4    0./3 DVcTVUVd JacZ_eVc                     77*165,.3           +*%.,,'2)

?VRceKcRZ_Z_X CC:                 .2-.4-/4    ;ZWZScZ]]Re`c dVe                          /4*3..,..            ,%.0.'))

                                              i+a`ceV' f]ecRd`f_U \Z`d\* f]ecRd`f_U
                                              \Z`d\ djdeV^ hZeY deR_U* d`WehRcV
                                              aRT\RXV* f]ecRd`f_U deR_U hZeY
                                              acZ_eVc* G0/ia-3+/ D?Q KcR_dUfTVc*
                                              J`_j LJ9 84 LG;675D; 9 R_U N
?VRce]R_U 8_VdeYVdZR              .2-06-/4    GcZ_eVc                                    00*...,..            .%*,,'*1
                                              FR\h`c\d :=GD1./ GRZ_
?VRce]R_U DVUZTR] J`]feZ`_d       .4-.0-/4    DR_RXV^V_e KRS]V                           //*16.,..            +%1--'1.
                                              FR\h`c\d :=GD1./ GRZ_
?VRce]R_U DVUZTR] J`]feZ`_d       .4-.0-/4    DR_RXV^V_e KRS]V                           //*16.,..            +%1--'1.
                                              FR\h`c\d :=GD1./ GRZ_
?VRce]R_U DVUZTR] J`]feZ`_d       .4-.0-/4    DR_RXV^V_e KRS]V                           //*16.,..            +%1--'1.



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8;H76 3EE7FE                                                                          0/*434*.37,24

                                                                                       FAF3>          5]ZZNV\ GJT]N
            G7@6AD                  ;@G 63F7                 67E5D;BF;A@               5AEF
                                                 T`cV ^`e`c T`_ec`]]Vc R_U V]VTecZT
Jecj\Vc JR]Vd :`ca                  .5-/3-/4     YR_UdhZeTY                               1*41/,12              221'0+
Jecj\Vc JR]Vd :`ca                  .5-/3-/4     V]ZeV /0 T^ decRZXYe ReeRTY^V_e          /*2.6,52              ,10',/
Jecj\Vc JR]Vd :`ca                  .5-/3-/4     aZ UcZgV a]fd ^`e`c                     /3*...,..            -%*+.'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   WZScV TYR__V] dhZeTY                     5*/72,..            +%,21'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   _Veh`c\ dhZeTY                           2*736,..            *%/.+'1)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   hReTYXfRcU WZcVhR]]d                    27*3..,..           */%.))'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   U]16. XV_ 7 dVcgVc #1                   01*1.0,..            0%0/0'+)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   dR_d '^dR 0.2.(                         14*77.,..           *+%,,)'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   U]16. XV_ 7 dVcgVc #0                   01*1.0,..            0%0/0'+)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   WZScV TYR__V] dhZeTY                     5*/72,..            +%,21'))
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   U]16. XV_ 7 dVcgVc #/                   1.*724,..           *)%,*.'+)
KR]]XcRdd KVTY_`]`XZVd               6-/4-0./4   _Veh`c\ dhZeTY                           2*736,..            *%/.+'1)

Jecj\Vc JR]Vd :`ca                   6-1/-0./4 MV_`^ /..^^ V]VTec`UV ) 2                   7*0..,..           +%0/)'*-



Jecj\Vc JR]Vd :`ca                   6-1/-0./4 MV_`^ /..^^ V]VTec`UV ) 6                 /6*2..,..            .%.*2'1/

?ZeRTYZ DVUZTR] Jjd                   7-7-0./4 icRj VbfZa^V_e                           /50*7..,..           .*%1/2'1/
:`gZUZV_                             7-/7-0./4 ZUcZgV f]ecR a`hVcVU YR_U]V                5*...,..            +%)22'1/
:`gZUZV_                             7-/7-0./4 V_U` XZR RURaeVc i]                        1*3..,..            *%).)'*-

KR]]XcRdd KVTY_`]`XZVd              /.-04-0./4 ]RUUVc cRT\Z_X R_U RaT f_Zed              0.*/3.,..            /%0*/'1)

CVZTR DZTc`djdeV^d                    //-01-/4 @K EVh JVcgVc c``^ VbfZa                 /.0*61.,1/           ,.%22)'..

JeVcZd :`ca`cReZ`_                    //-06-/4   JeVR^ JeVcZ]ZkVc                        77*560,30           ,-%2+,'2/
DVU]Z_V @_UfdecZVd* @_T,              //-07-/4   GReZV_e KRS]V h- ;cRhVcd                /5*6.2,22            /%+,*'.1
JeVcZd :`ca`cReZ`_                    /0-.5-/4   8Zc :`^acVdd`c                           0*.30,..              0*1'+)
:f]]ZXR_ `W >cVReVc BR_dRd :Zej       /0-/0-/4   NReVc J`WeV_Vc <bfZa^V_e                 5*271,..            +%/++'/1

JeVcZd :`ca`cReZ`_                    /0-/3-/4   C`h KV^a JeVcZ]ZkVc                     20*3.3,..           *-%10/'/+
?ZeRTYZ DVUZTR] Jjd                   /0-/3-/4   KRiVd                                   /3*1./,44            .%,..'-2
8cYRfd =fc_ZefcV                      .1-/3-/4   ;`fX&d `WWZTV Wfc_ZefcV                 /7*771,02            .%,,*'./
KYV :RcVXZgVc :`^aR_j* CC:            //-03-/4   9VU&d + MVceZTR] '2 `W eYV^(            /7*371,..            0%*1-'*)

KR]]XcRdd KVTY_`]`XZVd                .0-./-/5 @K EVh JVcgVc c``^ VbfZa                 005*302,17           10%+*0'1)

IRUd`fcTV @^RXZ_X KVTY`]`Xj* @_T,     .1-.6-/5 ^`SZ]V cRUZ`XcRaYZT djdeV^                37*...,..           +/%..)'**

IRUd`fcTV @^RXZ_X KVTY`]`Xj* @_T,     .1-06-/5   ^`SZ]V cRUZ`XcRaYZT djdeV^              25*0..,..           +*%+,2'12
F<: DVUZTR] JjdeV^d @_T,              .2-./-/5   EVhgZVh ^`_Ze`c faXcRUV                  3*...,..            +%)1,'-.
F<: DVUZTR] JjdeV^d @_T,              .2-./-/5   IVWfcS 76.. G]fd                        6/*...,..           ,,%0.)'))
=cR_\ 8_T`_R ?`_UR                    .2-03-/5   0./5 ?`_UR FUjddVj <OC                  2/*623,41           *1%1,)'--
=cR_\ 8_T`_R ?`_UR                    .2-03-/5   0./5 ?`_UR FUjddVj <OC                  2/*623,41           *1%1,)'--
=cR_\ 8_T`_R ?`_UR JFC; KF
;FL> G8CQ<I /-06-0.                   .6-04-/5 0./5 ?`_UR FUjddVj <OC                    2/*623,41           ++%,*0'.2
GYZ]]Zad ?VR]eYTRcV + <B>             /0-./-/5 <B>+0                                     /1*122,44            0%,,2'.2

I`[R_R IVR]ej                         /0-1/-/5 eV_R_e Z^ac`gV^V_e + ^VeTR]W T]Z_ZT       44*75.,/5           ,/%1,,'.1
Jec`_Xa`Z_e                           /0-1/-/4 TR^VcRd                                   02*466,25            2%).+'/*

IRUd`fcTV @^RXZ_X KVTY`]`Xj* @_T,              ^`SZ]V cRUZ`XcRaYZT djdeV^                 00*316,..          *)%*-+'+*
DZdT `WWZTV                           ./-./-/5                                           02.*125,22          11%*+0'-+
8bfRcZf^                              .5-04-/4                                            /2*30.,..           -%**-'))
;VWZS                                 /0-.6-/4                                             5*.35,14           +%-0)'*1
8fUZe`c 8U[fde^V_e                    /0-1/-/5                                         0*007*7.6,..       +%++2%2)1'))
8fUZe`c 8U[fde^V_e                    /0-1/-/5                                           303*624,/5         .+.%1-/'*0
KR]]XcRdd KVTY_`]`XZVd                .1-.7-/6 _Veh`c\ dhZeTY                              6*17.,..           .%),-')1



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8;H76 3EE7FE                                                                       0/*434*.37,24

                                                                                    FAF3>           5]ZZNV\ GJT]N
            G7@6AD              ;@G 63F7               67E5D;BF;A@                   5AEF
KR]]XcRdd KVTY_`]`XZVd            .1-.7-/6   _Veh`c\ dhZeTY                             6*17.,..            .%),-')1
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6   CV_`g` KYZ_\aRU                            /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .5-/7-/6   _Veh`c\ dhZeTY                             6*17.,..            .%.2,'-)
Jj_VcXj DVUZTR] @_T               .0-05-/6   FI CZXYeZ_X                               27*32.,..           +1%1.*'.,
JeVcZd :`ca`cReZ`_                .1-05-/7                                              5*740,/0            /%,/2'0+
:`_df]eR_ed @_ EVfc`]`Xj Vbae     ./-//-/7   MRcZ`fd                                  /02*705,..           2.%000',+
                                                                                    /%01/%+1-'.*        ,%/.-%/,2'0)

BRcZ_ DVeTR]W                   /.-./-/.     eV_R_e Z^ac`gV^V_e                       5.4*256,06           *0%//*'22
BRcZ_ DVeTR]W                   .1-./-/2     eV_R_e Z^ac`gV^V_e                        3.*...,..           +)%-*/'-,
BRcZ_ DVeTR]W                   .1-./-/2     eV_R_e Z^ac`gV^V_e                       036*5/2,4/          *),%-1.'-2
GVeVcd % 8dd`TZReVd             /0-0/-/4     eV_R_e Z^ac`gV^V_e                       /73*560,6.          *,,%01.')-
GVeVcd % 8dd`TZReVd             ./-/4-/5     :]VR_ % J`Z]                             /./*762,05           0)%.,2')1
8fUZe`c 8U[fde^V_e              /0-1/-/5                                              516*456,35
                                                                                    +%).*%/,1'.,          ,-.%111'),

BVj <bfZa =Z_R_TV               .3-./-/2     ^cZ                                    /*722*444,33               #)'))$

BVj <bfZa =Z_R_TV               .4-./-/2     cRU djdeV^-h`c\deReZ`_                   /1/*/2.,07                )'))
                                                                                    +%)0.%1)/'1-               #)'))$




4G:
8]TT_ 6NXZNLQJ\NM 7Y]QXUNV\                                                         /*002*757,23                )'))
9jc`_ DVUZTR]                   .0-./-.5     YRc^`_ZT dTR]aV] XV_VcRe`c                '/*21.,..(               )'))
Jecj\Vc <_U`dT`aj               .2-1.-.5     ^`_Ze`cd W`c ]Rac`dT`aj dfcXVcj          /4.*0/2,65                )'))
                                             ViTYR_XV dVcgVc* U`^RZ_ T`_ec`]]Vc*
:cVReZgV KVTY J`]feZ`_d         .3-01-.5     c`feVc                                     6*/21,71                )'))
                                             Yd YR_U T`_ec`]]VU TfcgVU dYV
A%A ?VR]eYTRcV                  .4-07-.5     ;2?80P                                     3*13/,30                )'))
                                             Yd YR_U T`_ec`]]VU TfcgVU dYV
A%A ?VR]eYTRcV                  .5-.4-.5     ;2>M5/                                     3*13/,30                )'))
DTBVdd`_                        .7-0/-.5     ^VUZTR] UVgZTV ac`TVddZ_X+ecU              5*3//,/4                )'))
<gVcXcVV_ DVUZTR] >c`fa         ./-/.-.6     0 R_VdeYVdZR ^`_Ze`cd                      5*3..,..                )'))
:cVReZgV KVTY_`]`Xj             ./-0/-.6     _`eVS``\                                   0*041,07                )'))
:cVReZgV KVTY_`]`Xj             ./-0/-.6     hVS T`_eV_e WZ]eVcZ_X d`]feZ`_             2*777,6.                )'))
:cVReZgV KVTY_`]`Xj             .0-//-.6     dVcgVc                                     0*5/7,0.                )'))
                                             Z_deR]] dVTfcZej R_U TR^VcR
DRdeVc ;VeVTeZ`_ JjdeV^         .0-/3-.6     dfcgVZ]]R_TV /-0                           3*253,..                )'))
                                             Z_deR]] dVTfcZej R_U TR^VcR
DRdeVc ;VeVTeZ`_ JjdeV^         .2-01-.6     dfcgVZ]]R_TV /-0                           3*253,..                )'))
                                             Z_deR]] dVTfcZej R_U TR^VcR
DRdeVc ;VeVTeZ`_ JjdeV^         .3-/0-.6     dfcgVZ]]R_TV ViecR \VjaRU                   0..,..                 )'))
                                             0 R_VdeYVdZR ^RTYZ_Vd h-gV_eZ]Re`cd
;G DVUZTR] JVcgZTVd             .3-01-.6     % h-^`_Ze`cd /-0                         /2*...,..                 )'))
                                             0 R_VdeYVdZR ^RTYZ_Vd h-gV_eZ]Re`cd
;G DVUZTR] JVcgZTVd             .3-1.-.6     % h-^`_Ze`cd /-0                         /2*2..,..                 )'))
IRUd`fcTV @^RXZ_X               .5-.0-.6     T+Rc^ 2.$                                17*13.,..                 )'))
IRUd`fcTV @^RXZ_X               .5-.5-.6     T+Rc^ 3.$                                27*/65,3.                 )'))
<gVcXcVV_ DVUZTR] >c`fa         .5-06-.6     2 V]VTecZT Y`daZeR] SVUd* /-0             1*14.,..                 )'))
IRUd`fcTV @^RXZ_X               .6-//-.6     T+Rc^ /.$                                /4*077,16                 )'))
:cVReZgV KVTY_`]`Xj             .6-/0-.6     0 UV]] dVcgVcd                            7*/15,/.                 )'))
IRUd`fcTV @^RXZ_X               .6-/6-.6     acZ_eVc % ^`_Ze`c W`c T+Rc^               /*/07,./                 )'))
<gVcXcVV_ DVUZTR] >c`fa         .7-/7-.6     2 V]VTecZT Y`daZeR] SVUd* /-0             1*24/,64                 )'))
:Z_TZ__ReZ JfS+QVc`             /.-.7-.6     XV] hRc^Vc                                0*460,45                 )'))
:cVReZgV KVTY_`]`Xj             /0-/0-.6     d`_ZThR]]                                 4*742,17                 )'))
:cVReZgV KVTY_`]`Xj             .1-.2-.7     dVcgVc                                    2*652,//                 )'))
:cVReZgV KVTY_`]`Xj             .2-01-.7     e`hVc cRT\                                2*/15,44                 )'))
:cVReZgV KVTY_`]`Xj             .5-06-.7     UV]] dhZeTYVd                             2*340,/2                 )'))
<8 DVUZTR]                      /0-/5-.7     ]ZgVc cVecRTe`cd                          6*366,10                 )'))



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8;H76 3EE7FE                                                                      0/*434*.37,24

                                                                                   FAF3>          5]ZZNV\ GJT]N
             G7@6AD              ;@G 63F7               67E5D;BF;A@                 5AEF
                                                                                   *%/+)%111'11               )'))

                                                                                   0*/32*320,3/               .,..

8]TT_ 6NXZNLQJ\NM 7Y]QXUNV\                                                         235*451,75                )'))
:]f_V                             .6-1.-.7     aY`_V djdeV^                          53*757,44                )'))
5T]VN \WWS MNXZNLQJ\QWV M]ZQVP
TNJ[N'                                                                              .,,%/.,'/,                )'))




4GE3

EVfc`eYVc^                        /0-1/-// cRUZ` WcVbfV_Tj ]VdZ`_ XV_VcRe`c          0/*200,14               #)'))$
JfcXZTR] KRS]Vd                   /0-1/-// TRcS`_ WZSVc Z^RXZ_X eRS]V                 7*/7.,..                )'))
F<: DVUZTR] JjdeV^d @_T,            .6-/5-/5 : 8c^ GfcTYRdV                          71*733,..           -/%200'-)

F<: DVUZTR] JjdeV^d                 ./-04-/6   JfaVc :+8c^                            3*754,..            ,%,1/'-)
KR]]XcRdd KVTY_`]`Xj                .2-/7-/6   CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`XZVd            .2-/2-/6     CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`Xj                .2-/7-/6   CV_`g` KYZ_\aRU                        /*4..,..              21/'.2
KR]]XcRdd KVTY_`]`Xj                .5-/7-/6   EVeh`c\ JhZeTY                         6*17.,..            .%.2,'-)
KR]]XcRdd KVTY_`]`Xj                .5-/7-/6   EVeh`c\ JhZeTY                         6*17.,..            .%.2,'-)
:`^af^VUZTd LJ8                     .4-./-/7                                         7/*030,4/           02%)1.'.0

                                                                                    +-1%*0.'20          *-/%...'0*




?NMQ^J\QWV


JecReRdjd                           .4-0.-/5 1; GcZ_eVc A53.                        2/.*1/7,34          *1-%/--'**

                                                                                    -*)%,*2'./          *1-%/--'**




  BQVVJLTN DNPQWVJT :W[XQ\JT& 4WWV^QTTN ?A

MVcReY`_                          /.-03-/6     >]ZUVdT`aV GcV^Zf^ :Rce               /3*371,35           **%*0.'--
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,/.            .%-),',)
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,/.            .%-),',)
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
DZ_UcRj                             //-/2-/6   MZeR] D`_Ze`c                          5*146,//            .%-),',*
GYZ]Zad ?VR]eYTRcV                  //-0.-/6   MV_eZ]Re`c KcZ]`Xj 0.0                /1*.5/,00            2%.1.'/+
GcVdT`eed @_T                       //-07-/6   QVZdd DZTc`dT`aV                     /1/*372,27           2/%.)+'/.
Jecj\Vc <_U`dT`aj                   /0-/6-/6   ?; MZUV` DVUZTR] D`_Ze`c JPJ          31*./3,6.           ,2%0/*'1)
Jecj\Vc <_U`dT`aj                   /0-/6-/6   CRac`dT`aV :R^VcR JjdeV^             /34*6.0,74          **0%/)+'+/
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//
Jecj\Vc DVUZTR]                     /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc              5*534,64            .%1*0'//



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8;H76 3EE7FE                                                                         0/*434*.37,24

                                                                                      FAF3>           5]ZZNV\ GJT]N
              G7@6AD                ;@G 63F7               67E5D;BF;A@                5AEF
Jecj\Vc DVUZTR]                       /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc               5*534,64             .%1*0'//
Jecj\Vc DVUZTR]                       /0-04-/6   GcZ^V 9ZX NYVV] JecVeTYVc               5*534,64             .%1*0'//
>< ?VR]eYTRcV DVUZTR]                 /0-1/-/6   L]ecRd`f_U                             05*746,02            +*%--+'+1
Jecj\Vc @_decf^V_ed                   ./-02-/7   9`_V DZ]] R_U JeVcZ]ZkReZ`_ :RdV       /2*/1.,6.            *)%1,,'//
Jecj\Vc @_decf^V_ed                   ./-02-/7   EVaef_V 1 I`gVc                        /6*0/3,66            *,%2/.'-1
Jecj\Vc @_decf^V_ed                   ./-02-/7   EVaef_V 1 I`gVc                        /6*0/3,65            *,%2/.'-0




                                                                                       317*136,41           -)+%*/)'-/


                                                 =RTZ]Zej 'JVV 9V]`h(                 4*0.0*47.,..

                                                                                      /%0-+%)-1'/,
                                                                                        '3.*340,33(

                                                                                      4*47/*264,.6
BQVVJLTN DNPQWVJT :W[XQ\JT& 4WWV^QTTN ?A

K`eR] GfcTYRdV GcZTV                /.-.3-/6                                          4*3..*...,..
8U[fde W`c EVe 8ddVed-CZRSZ]ZeZVd                JVV ;VeRZ] 9V]`h                       ,2*%101'))
K`eR] 8TbfZdZeZ`_                                                                     4*67/*656,..

                                    /.-.3-/6     CR_U                                  /12%*11'))

                                    /.-.3-/6     ?`daZeR] 9]UX % @^ac`gV^V_ed         3*3/1*3.0,..
                                    /.-.3-/6     8^Sf]R_TV 9fZ]UZ_X                      46*7/7,..
                                    /.-.3-/6     I?: 9]UX % @^ac`gV^V_ed                40.*047,..
                                                                                      4*0.0*47.,..

                                                                                      /%12*%101'))

3[[N\[(>QJKQTQ\QN[ 3MR][\UNV\
:RdY                                                                                    '7/*430,..(
EVe 8TT`f_ed IVTVZgRS]V                                                                '6/.*776,..(
@_gV_e`cj                                                                              '071*0/6,..(
8TT`f_ed GRjRS]V                                                                        732*15/,..
8TTcfVU GRjc`]]                                                                         411*153,..
                                                                                        ,2*%101'))




J`]U




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  Fill in this information to identify the case:

              Pinnacle Regional Hospital, Inc.
  Debtor name __________________________________________________________________
                                          Kansas City
  United States Bankruptcy Court for the: ______________________             Kansas
                                                                 District of _________
                                                                                        (State)

  Case number (If known):       20-20219
                               _________________________
                                                                                                                                                     " Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.
                                                                                                  See EX-D-BVH, attached hereto
 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                "   No
                                                                "   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                "   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                "   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
    " No                                                        "   Contingent
    " Yes. Specify each creditor, including this creditor,      "   Unliquidated
             and its relative priority.                         "   Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                "   No
                                                                "   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?

    Last 4 digits of account
                                                                "   No
    number                   ___ ___ ___ ___
                                                                "   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    " No                                                        "   Contingent
    " Yes. Have you already specified the relative              "   Unliquidated
             priority?                                          "   Disputed
        "    No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
        "    Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.
                                     Case 20-20219                  Doc# 157-1                Filed 04/16/20            Page 27 of 42
   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
Debtor           _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

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Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
                  &,'($(*

                &,#%#$+'




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                                                                                                                    EX-D-BVH
                                                                                                                                        Multiple                                                   CREDITOR   OTHER     Contingent/U
                                                                                                                              ACCOUNT   creditors                                                  RELATION   LIAB      nliquidated/
                 Entity   Vendor ID            Creditors Name               Address line 1             City ST ZIP            LAST 4    YES/NO      Property Description                           YES/NO     PARITES   Disputed     Amount
                 BVH      GE Healthcare Fin    GE Healthcare Fin Services   P.O. Box 641419            Pittsburgh, PA 15264   8001      NO          OEC 9800 Plus Digital Mobile S                 NO         N/A       N/A             $92,611.96
                 BVH      GE Healthcare Fin    GE Healthcare Fin Services   P.O. Box 641419            Pittsburgh, PA 15264   5001      NO          OEC 9800 Plus Digital Mobile S                 NO         N/A       N/A
                 BVH      GE Healthcare Fin    GE Healthcare Fin Services   P.O. Box 641419            Pittsburgh, PA 15264   9001      NO          LOGIQ E9 R4 IC5 9-D Micro Convex Trophon EPR   NO         N/A       N/A
                 BVH      GE Healthcare Fin    GE Healthcare Fin Services   P.O. Box 641419            Pittsburgh, PA 15264   2001      NO          GE OEC 9800 ESP                                NO         N/A       N/A
                 BVH      GE Healthcare Fin    GE Healthcare Fin Services   P.O. Box 641419            Pittsburgh, PA 15264   6001      NO          OEC 9800 Plus Digital Mobile S                 NO         N/A       N/A
                 BVH      GREAT WESTERN BANK   GREAT WESTERN BANK           10610 Shawnee Mission Pkwy Shawnee, KS 66203      8091      NO                                                         NO         N/A       N/A          $1,481,799.97
                 BVH      GREAT WESTERN BANK   GREAT WESTERN BANK           10610 Shawnee Mission Pkwy Shawnee, KS 66203      8105      NO                                                         NO         N/A       N/A            $100,932.84
                 BVH      GREAT WESTERN BANK   GREAT WESTERN BANK           10610 Shawnee Mission Pkwy Shawnee, KS 66203      8113      NO                                                         NO         N/A       N/A          $1,055,339.80
                 BVH      GREAT WESTERN BANK   GREAT WESTERN BANK           10610 Shawnee Mission Pkwy Shawnee, KS 66203      4594      NO                                                         NO         N/A       N/A            $542,978.81
                 TOTAL                                                                                                                                                                                                               $3,273,663.38




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   Fill in this information to identify the case:

   Debtor            Pinnacle Regional Hospital, Inc.
                    __________________________________________________________________

                                            Kansas City
   United States Bankruptcy Court for the: ______________________             Kansas
                                                                  District of __________
                                                                                              (State)
   Case number        20-20219
                     ___________________________________________
    (If known)

                                                                                                                                                  " Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    "    No. Go to Part 2.                                                                                  See EX-EF-BVH, attached hereto
    "    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)



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  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
  Debtor       _______________________________________________________                             Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
                                                                           "   Unliquidated
    ____________________________________________________________           "   Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           "   No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
                                                                           "   Unliquidated
    ____________________________________________________________           "   Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           "   No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
                                                                           "   Unliquidated
    ____________________________________________________________           "   Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           "   No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
                                                                           "   Unliquidated
    ____________________________________________________________           "   Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           "   No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
    ____________________________________________________________
                                                                           "   Unliquidated
                                                                           "   Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           "   No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
    ____________________________________________________________
                                                                           "   Unliquidated
                                                                           "   Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           "   No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

                               Case 20-20219               Doc# 157-1              Filed 04/16/20             Page 32 of 42
    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                page __ of ___
     Debtor          _______________________________________________________                                          Case number (if known)_____________________________________
                     Name



Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                                         On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                                             any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                     "    Not listed. Explain ________________     ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____
         ___________________________________________________________________________________________________
                                                                                                               "    Not listed. Explain ________________     ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __ of ___
 Debtor        _______________________________________________________             Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.          $_____________________________




5b. Total claims from Part 2                                                                  5b.    +     $_____________________________




5c. Total of Parts 1 and 2
                                                                                              5c.          $_____________________________
   Lines 5a + 5b = 5c.




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   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                     page __ of ___
                              %.'($(+

                           %.#%&#$-'
*7;3 > ,6:31<932 230;: 67; :34934/;32 0= 895795;=




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                                                                                     EX-EF- BVH
Vendor ID              Vendor                                  Address line 1                       Address line 2               City ST ZIP                        Total Owed
A-Chem                 A-Chem                                  12001 McKee N. Road                                               Excelsior Springs, MO 64024               $711.00
Abbott Labs            Abbott Laboratories                     22400 Network Place                                               Chicago, IL 60673-1224                $310,706.70
Accutype Medical       Accutype Medical Services, Inc.         10300 W 103rd St                                                  Overland Park, KS 66214 USA             $5,944.08
ACME SIGN              ACME SIGN                               1313 Vernon                                                       North Kansas City, MO 64116-4422        $1,583.30
ACS Data Search        ACS Data Search                         PO Box 12587                                                      Overland Park, KS 66282-2587            $1,680.00
Advertising by Desig   Julie Brenneman                         12766 Mackey                                                      Overland Park, KS 66213                   $640.00
Aesculap               Aesculap                                PO Box 780426                                                     Philadelphia, PA 19178-0426           $352,684.36
AGFA                   AGFA US Corp                            10, South Academy Street                                          Greenville, SC 29601                   $10,885.25
Airgas Mid South Inc   Airgas USA, LLC                         PO Box 734671                                                     Dallas, TX 75373-4671                     $141.80
Allen, Mark            Mark Allen, MD                          714 S Broadway St                                                 Leavenworth, KS 66048                     $535.00
Allergan USA, Inc.     Allergan USA, Inc.                      12975 Collections Center Drive                                    Chicago, IL 60693                       $2,404.00
Allscripts             Allscripts Healthcare LLC               24630 Network Place                                               Chicago, IL 60673 USA                 $789,753.70
Amkai Solutions        Amkai, LLC                              PO Box 930484                                                     Atlanta, GA 31193-0484                 $23,585.13
Apollo Endosurgery     Apollo Endosurgery Inc                  32663 Collection Center Drive                                     Chicago, IL 60693-0326                  $8,825.10
Bank of America        Business Card                           PO Box 15796                                                      Wilmington, DE 19886-5796             $109,611.23
Bank of the West       BankCard Center                         PO Box 4021                                                       Alameda, CA 94501-0421                    $999.57
BARD                   C.R. Bard, Inc.                         P.O. Box 75767                                                    Charlotte, NC 28275                     $5,150.84
Barton Associates      Barton Associates                       P.O. Box 417844                                                   Boston, MA 02241                      $104,701.47
Baxter                 Baxter                                  PO BOX 730531                                                     Dallas, TX 75373-0531                  $14,359.85
Bioventus LLC          Bioventus LLC                           P.O. Box 732823                                                   Dallas, TX 75373-2823                  $63,987.60
Boston Scientific      Boston Scientific Corp                  300 Boston Scientific Way Mailstop   M-71 Janine Karwacki         Marlborough, MA 01752                  $81,177.61
Boyce and Bynum Path   Boyce and Bynum Pathology Lab           PO Box 7406                                                       Columbia, MO 65205 USA                 $98,762.66
Bridging The Gap       Bridging The Gap Interpreting, LLC      10940 Parallel Pkwy, Ste K285                                     Kansas City, KS 66109                     $464.80
Bryn Mawr Equip        Bryn Mawr Funding                       PO Box 692                                                        Bryn Mawr, PA 19010                     $3,951.40
BTX KS Inc             BTX KS Inc                              11201 Strangline RD                                               Lenexa, KS 66215                          $225.00
C&S Management Trust   C&S Instruments LLC                     6000-C Sawgrass Village Circle                                    Ponte Verda Beach, FL 32082             $9,472.40
Centinel Spine         Centinel Spine LLC                      P.O. Box 207368                                                   Dallas, TX 75320-7368                 $159,002.00
Central Bio-Medical    Central Bio-Medical, Inc                PO Box 780372                                                     Wichita, KS 67278-0372 USA              $2,612.40
CenturyLink            Century Link                            PO Box 4300                                                       Carol Stream, IL 60197                 $49,231.16
Choice Spine           Choice Spine                            400 Erin Drive                                                    Knoxville, TN 37919 USA                $35,900.00
Cole, Karen            Karen Cole                              15024 Dearbornst                                                  Overland Park, KS 66223                 $1,481.74
Collect RX             Collect RX                              6720 Rockledge Dr                    Tower B, Suite 600           Bethesda, MD 20817                    $252,270.50
Commercial Capital     Commercial Capital Company, LLC         8215 Melrose Drive, Ste 100                                       Lenexa, KS 66214                       $22,916.82
Compumedics USA Inc    Compumedics USA Inc                     5015 West W.T. Harris Blvd.          Suite E                      Charlotte, NC 28269 USA                $98,641.49
Computer Aided Tech    Computer Aided Tech, LLC                165 Arlington Heights RD             STE 101                      Buffalo Grove , IL 60089                $4,379.00
ConMed                 ConMed Linvatec                         P.O. Box 301231                                                   Dallas, TX 75303-1231                     $420.36
Cousin, Jourdan        Jourdan Cousin                          12409 Hardy St                                                    Overland Park, KS 66213                   $180.96
Covidien               Covidien                                Department 00 10318                                               Palatine, IL 60055-0318               $445,481.22
CTL Medical Corp       CTL Medical Corporation                 4550 Excel Parkway Ste #300                                       Addison, TX 75001                      $16,390.00
Culligan KC            Culligan of Greater Kansas City         PO Box 2170                                                       Olathe, KS 66051                          $514.06
Cummins Sales          Cummins Sales and Service               P.O. Box 842316                                                   Dallas , TX 75284-2316                  $2,774.78
Davies, Lori           Lori Davies                             2525 W 162nd St                                                   Stillwell, KS 66085                       $100.00
De Lage                De Lage Landen                          PO Box 41602                                                      Philadelphia, PA 19101-1602            $22,347.18
DEPT of Social SVCS    Department of Social Services           PO Box 1116                                                       Jefferson City, MO 65102 USA           $11,824.60
DePuy Synthes Sales,   Depuy Synthes Sales, Inc.               5972 Collections Center Drive                                     Chicago, IL 60693 USA                   $5,670.06
Diversatek Healthcar   Diversatek Healthcare, Inc.             27270 Network Place                                               Chicago, IL 60673-1272                  $1,050.00
DJO Global             DJO, LLC                                PO Box 650777                                                     Dallas, TX 75265 USA                    $5,818.15
Dylan Corporate Serv   Dylan Corporate Services, Inc.          4000 W. 114th St. Ste. 140                                        Leawood, KS 66211                      $31,411.33
EA Medical, LLC        EA Medical, LLC                         10541 State Highway 81                                            Canton, MO 63435 USA                      $902.80
eScreen                eScreen, Inc                            PO Box 654094                                                     Dallas, TX 75265-4094                     $213.00
EverBank               TIAA Bank                               PO Box 911608                                                     Denver, CO 80291-1608                   $8,077.20
FarMor Media LLC       FarMor Media LLC                        PO Box 403                                                        Harrisonville, MO 64701               $262,121.00
Favorite Staffing      Favorite Healthcare Staffing, Inc.      P.O. Box 26225                                                    Overland Park, KS 66213               $307,852.91
Flowonix Medical, In   Flowonix Medical, Inc.                  500 International Drive              Ste 200                      Mount Olive, NJ 07828                     $480.00
Forbes Law Group       Forbes Law Group                        6900 College Blvd                    Ste 840                      Overland Park, KS 66211                $81,118.42
Frenchin, Kathryn      MOHN                                    P.O. Box 8550                                                     Madison, WI 53708                          $24.34
GE Healthcare Fin      GE Healthcare Fin Services              P.O. Box 641419                                                   Pittsburgh, PA 15264                   $76,374.08
Great Western Bank     Great Western Bank                      10610 Shawnee Mission Pkwy                                        Shawnee, KS 66203 USA                   $4,059.00
Gulf Coast Pharmaceu   Accord Financial, Inc                   P.O. Box 6704                                                     Greenville, SC 29606                    $5,639.82
Hagerich, Kelly        Kelly Hagerich                          11454 Amazon Ave                                                  Concordia, MO 64020 USA                   $111.24
Health eFilings        Health eFilings LLC                     7617 Mineral Pt Road                 STE 200                      Madison, WI 53717 USA                  $18,050.00
Hellebusch, Greg       Greg Hellebusch                         6622 NW Dearing Dr                                                Kansas City, MO 64152                   $2,042.46
HFAP                   AAHHS/HFAP                              142 East Ontario                     10th Floor                   Chicago, IL 60611                      $13,761.00
Hill-Rom               Hill-Rom                                PO Box 643592                                                     Pittsburg, PA 15264-3592                  $163.66
Hitachi Medical Sys    Hitachi Healthcare Americas Corp        Dept 781378                          P.O. Box 78000               Detroit, MI 48278                      $43,640.00
Hy-Vee                 Hy-Vee Accounts Receivable              5820 Westown PKWY                                                 West Des Moines, IA 50266 USA           $5,275.58
IMA, Inc               IMA, Inc NE KS Division                 9393 W 110th Street                  51 Corporate woods STE 600   Overland Park, KS 66210 USA            $87,635.12
In2itive, LLC          In2itive Business Solutions             6330 Sprint Pkwy, Ste 425                                         Overland Park, KS 66211 USA           $445,172.38
InfuSystem             InfuSystem                              PO Box 204471                                                     Dallas TX, TX 75320                    $11,684.82
Integra LS             Integra Lifesciences Corp.              PO Box 404129                                                     Atlanta, GA 30384-4129                 $96,008.49
Integrated Science     Integrated Science Support, Inc         14464 N 169 Hwy                                                   Smithville, MO 64089 USA                $5,410.00
IPFS Corp              IPFS Corporation                        National Accounts                    PO Box 419090                Kansas City, MO 64141-6090             $39,593.02
Jackson Co Collector   Jackson County Collector                PO Box 219747                                                     Kansas City, MO 64121                     $136.36
Jarrell Mech Cont      Charles E. Jarrell Contracting Co INC   4208 Rider Trail North                                            Earth City, MO 63045 USA               $13,577.42
Jewish Vocational Se   Jewish Vocational Service               4600 The Paseo                                                    Kansas City, MO 64110                   $3,727.16
Johnson County Treas   Johnson County Treasurer                PO Box 2902                                                       Shawnee Mission, KS 66201-1302          $1,086.03




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Kansas Hospital Asso   Kansas Hospital Association               215 E 8th Ave                                                  Topeka, KS 66603 USA                $5,445.00
Kerri Nobrega          KC Logo Works LLC                         7121 N Polk Ave                                                Kansas City, MO 64151               $1,345.31
Khan, Sabrina          Sabrina Khan                              13402 W 173rd Terrace                                          Overland Park, KS 66221             $1,682.25
KS Board Pharmacy      Kansas State Board of Pharmacy            800 SW Jackson, Room 1414                                      Topeka, KS 66612                      $112.00
Kutak Rock LLP         Kutak Rock LLP                            PO Box 30057                                                   Omaha, NE 68103-1157                  $805.00
LabCorp                Laboratory Corp of America Holdings       PO Box 12140                                                   Burlington, NC 27216               $20,469.90
Lathrop Gage           Lathrop Gage                              10851 Martin Blvd                   Building 82 STE 1000       Overland Park, KS 66210           $180,217.52
Lexington Plumbing     Lexington Plumbing and Heating Co         P.O. Box 875810                                                Kansas City, MO 64187               $2,880.26
Lighthouse Business    Lighthouse Business Info Solutions, LLC   8100-M4 Wyoming Blvd. NE            Suite 230                  Albuquerque, NM 87111 USA          $10,197.68
LLC Wholesale Suply    LLC Wholesale Supply, LLC                 1829 W. Drake Drive                 Suite 102                  Tempe, AZ 85283                     $2,900.00
Magnacoustics          Magnacoustics                             1995 Park Street                                               Atlanta Beach, NY 11509 USA           $415.00
Mason, Karen           Karen Mason                               101 Se Algers Dr                                               Blue Springs, MO 64014 USA            $184.00
McKesson Medical       McKesson Medical Surgical                 PO Box 933027                                                  Atlanta, GA 31193-3027             $83,112.24
Med-Act Employees As   Med-Act Employees Associtation            11811 S. Sunset Dr                  STE 1100                   Olathe, KS 66061                    $1,960.00
Medevac Mid America    Medevac Mid-America Inc                   P.O. Box 847199                                                Dallas, TX 75284-7199                 $779.31
Medical Liability Al   Medical Liability Alliance                PO BOX 1498                                                    Jefferson City, MO 65102            $9,196.25
Medivators             Medivators Inc                            N.W. 9841                           P.O. Box 1450              Minneapolis , MN 55485 USA         $14,187.29
Medline                Medline Industries, Inc                   DEPT 1080                           PO Box 121080              Dallas, TX 75312                  $319,966.21
MedTrainer             MedTrainer                                555 Cajon St                        Ste A                      Redlands, CA 92373 USA              $1,817.97
Metro Air              Metro Air Conditioning Co                 8151 Mccoy                                                     Shawnee, KS 66227                   $6,659.75
Michael D Peroo        Michael D Peroo CPA, PA                   14123 S Mur-Len Rd                                             Olathe, KS 66062                   $12,750.00
Midwest Compounders    Midwest Compounders Pharmacy              13330 Santa Fe Trail Drive                                     Lenexa, KS 66215                    $1,376.00
Midwest Retina Assoc   Midwest Retina Associates, Inc            1010 Carondelet Dr.                 Suite 340                  Kansas City, MO 64114 USA             $150.00
Midwest Vascular       Midwest Vascular Access, LLC              8005 W 110ST                        STE 210                    Overland Park, KS 66210               $385.00
Mindray                Mindray DS USA, Inc                       24312 Network Pl                                               Chicago, IL 60673                  $76,989.09
Mirion Technologies    Mirion Technologies (GDS) Inc             P.O. Box 101302                                                Pasadena, CA 91189                 $14,794.72
Monti LLC              Monti LLC                                 811 Gilman St                                                  Moberly, MO 65270                   $3,600.00
MSC                    Management Services Corp                  P.O. Box 6766                                                  Jefferson City, MO 65102-6766      $13,159.00
Murphy, Jennifer       Jennifer Murphy                           5206 S Gary Court                                              Springfield, MO 65810               $2,969.08
MVAP Medical Supply    MVAP Medical Supplies, Inc.               2001 Corporate Center Drive         Suite 250                  Thousand Oaks, CA 91320             $1,284.85
Network Innovations    Network Innovations Inc                   2012 Prairie Circle                 Suite B                    Olathe, KS 66062                   $14,645.34
Nevro                  Nevro Corp                                PO Box 845694                                                  Dallas, TX 75284                   $27,296.30
Nigro, Lee             Lee Nigro, MD                             9810 W 135th Terrace                                           Overland Park, KS 66213               $705.24
Nitro Group            Nitor Group                               321 E 12th Street                   Wendy Grimes               Connersville, IN 47331              $1,188.00
Northfield Medical     Northfield Medical, Inc                   PO BOX 671123                                                  Dallas, TX 75267-1123 USA           $1,770.27
Nuvectra               Nuvectra Corporation                      DEPT 3565                           PO Box 123565              Dallas , TX 75312                   $1,822.45
OEC Medical Systems    OEC Medical Systems Inc.                  2984 Collections Center Drive                                  Chicago, IL 60693                   $3,659.30
Omnicell               Omnicell                                  P.O. Box 204650                                                Dallas, TX 75320-4650 USA          $17,359.99
OrthoFix               Orthofix Spinal Implants                                                      PO Box 842452              Dallas, TX 75284-3820             $254,878.00
OsteoMed               OsteoMed                                  2241 Collection Center Drive                                   Chicago, IL 60693 USA               $1,866.89
P1 Group               P1 Group, Inc.                            13605 W. 96th Terr                                             Lenexa, KS 66215                      $836.80
Pay-LESS Office        Pay-LESS Office Products, Inc             PO Box 390157                                                  Omaha, NE 68139                     $1,475.93
Perfusion.com          Perfusion.com Inc                         17080 Safety St                     Suite 109                  Fort Myers, FL 33908               $28,400.00
Peterson, Norman       Humana Health Care Plans                  P.O. BOX 931655                                                Atlanta, GA 31193-1655 USA             $28.35
Petty Cash - BS        Beth Fredrickson -PC                      Blue Valley Surgical Associate      1052 SW Luttrell STE E     Blue Springs, MO 64015                 $45.81
Petty Cash - COL       Candace Parkhurst / Petty Cash            201 W. Broadway                     Suite 5B                   Columbia, MO 65203                     $66.00
Petty Cash - NKC       Beth Fredrickson/Petty Cash               Blue Valley Surgical Associate      8548 N Ambassador Dr       Kansas City, MO 64154                  $16.45
Petty Cash - SPG       Briann Snider                             Blue Valley Surgical Associate      3238 S National            Springfield, MO 65807                  $47.04
Pfizer Inc.            Pfizer Inc.                               PO BOX 417510                                                  Boston, MA 02241-7510               $8,500.00
Pitney Postage Phone   Purchase Power                            PO Box 371874                                                  Pittsburg, PA 15250-7874            $3,707.24
Platte County Tax      Sheila L Palmer, Collector                Platte County Tax                   415 Third St, Ste 40       Platte City, MO 64079                 $170.98
ProForma               Proforma                                  P.O. Box 51925                                                 Los Angeles, CA 90051-6225          $1,285.19
Property Valuation     Property Valuation Services               14400 Metcalf                                                  Overland Park, KS 66223             $1,750.00
Propharma Dist         Propharma Distribution                    11005 Dover Street                  Suite 1000                 Westminister, CO 80021              $5,645.00
ProShred               Redishred Kansas Inc.                     3052 S 24th St                                                 Kansas City, KS 66106                 $448.00
Pusateri, Virginia     Virginia Pusateri                         4108 West Rock Creek                                           Imperial, MO 63052                     $55.00
Quest Diagnostics      Quest Diagnostics                         PO BOX 772976                                                  Chicago, IL 60677                  $28,358.56
R&G Solutions          R&G Solutions                             1153 SE Century Drive                                          Lee's Summit, MO 64081            $262,613.51
Radsource Imaging      Radsource Imaging Technology, Inc         8121 NW 97th Terrace                                           Kansas City, MO 64153              $34,272.37
Radsource, LLC         Radsource, LLC                            750 Old Hickory Blvd                Suite 1-260                Brentwood, TN 37027 USA             $1,580.75
Recordation, INC.      Recordation, INC.                         54 Bodwell Street                   Read/ Ste 1                Avon, MA 02322-111 USA             $45,600.00
Reed, William          William O. Reed MD, PA                    12850 Metcalf Ave Ste 220                                      Overland Park, KS 66213             $1,918.01
ReShape Lifesciences   ReShape Lifesciences Inc                  Dept. LA 24983                                                 Pasadena, CA 91185                  $9,305.84
Respironics, Inc       Respironics, Inc                          PO Box 405740                                                  Atlanta, GA 30384-5740 USA            $520.23
Rhycom, Inc.           Rhycom, Inc.                              10975 Benson Drive, Suite 220                                  Overland Park, KS 66210-2120       $14,850.00
Rojana Realty Invest   Rojana Realty Investment, Inc             PO Box 4770                                                    Olathe , KS 66063               $1,713,777.15
RTI Surgical           RTI Surgical                              RTI Surgical Lockbox                PO Box 734031              Chicago, IL 60673-4031 USA         $98,660.00
Scharf, Dan MD         Dan Scharf MD                             28 Coventry Court                                              Prairie Villiage, KS 66208          $2,931.68
Schemanski, Cheryl     Cheryl Schemanski                         711 E Cloud Ave                     Apt 606                    Andover, KS 67002 USA                  $48.91
Scrub Hub              Scrub Hub                                 10559 Metcalf Ave                                              Overland Park, KS 66212                $49.85
Smith & Nephew         Smith & Nephew, Inc                       PO Box 60333                                                   Charlotte, NC 28260-0333            $5,942.18
Sound Products         Sound Products Inc                        1365 N Winchester St                                           Olathe, KS 66061                    $1,452.99
Southcreek Bldg        Southcreek Bldg I:II Associates LP        7200 W 132nd St, Ste 300                                       Overland Park, KS 66213            $25,185.40
SPH Analytics          SPH Analytics                             PO Box 526                                                     Duluth, GA 30096                       $72.00
Staples                Staples Business Advantage                PO Box 83689                        Dept DAL 3368              Chicago, IL 60696                   $4,852.02
Steeles, LLC           Steele Supply Company                     3413 Hill St                                                   Saint Joseph, MI 49085              $3,952.80
Stericycle, Inc        Stericycle, Inc                           PO Box 6575                                                    carol stream, IL 60197             $19,146.52
Steris Corporation     Steris Corporation                        PO Box 676548                                                  Dallas, TX 75267-6548               $4,924.86
Stimwave LLC           Stimwave LLC                              1310 Park Central Blvd S                                       Pompano Beach, FL 33064 USA        $97,950.00



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Stockman, Larry        Larry Stockman                      914 Somers Street                                   Tonganoxie, KS 66086 USA                $35.00
Stryker                Stryker Sales Corp                  21343 Network Place                                 Chicago, IL 60673-1213             $176,681.37
Stryker Endoscopy      Stryker Endoscopy                   c/o Stryker Sales Corporation      PO Box 93276     Chicago, IL 60673                  $225,198.31
Stryker Flex Fin       Stryker Flex Financial              25652 Network Place                                 Chicago, IL 60673                   $11,098.97
Stryker Medical        Stryker Sales Corp                  PO Box 93308                                        Chicago, IL 60673                    $2,393.58
Stryker Ortho          Stryker Orthopaedics                PO BOX 93213                                        Chicago, IL 60673-3213              $34,376.73
Summit Care            Summit Care                         6830 W. 121st Court                                 Overland Park, KS 66209              $3,530.25
Supply4GI LLC          Supply4GI LLC                       19120 Freeport St NW #10                            Elk River, MN 55330                  $2,120.00
Surency                Surency Life and Health             PO Box 789773                                       Wichita, KS 67278-9773                 $296.10
Surgical Advantage     Surgical Advantage                  PO Box 35565                                        Tulsa, OK 74153-0565                $33,750.00
Tallgrass Tech         Tallgrass Technologies              14647 W. 95th Street                                Lenexa , KS 66215                $1,194,079.61
Terminal Cleaning Se   Terminal Cleaning Services          P.O. Box 26014                                      Overland Park, KS 66225             $13,190.00
US Bank Equip Financ   US Bank Equip Finance               PO Box 790448                                       St Louis, MO 63179-0448              $2,219.29
Verathon               Verathon, Inc.                      PO Box 935117                                       Atlanta, GA 31193-5117               $1,617.56
Vision Service Plan    Vision Service Plan - Connecticut   PO Box 742788                                       Los Angeles, CA 90074-2788           $3,396.60
Walker Linen           Walker Medical Linen Services       1601 Prospect Ave                                   Kansas City, MO 64127               $62,163.25
Ward, Randall 2        MO Healthnet Divison                PO Box 6500                                         Jefferson City, MO 65102-6500        $5,766.49
Waterlogic             WATERLOGIC                          PO BOX 677867                                       Dallas, TX 75267-7867                  $727.03
Waystar                Waystar                             1311 Solutions Center                               Chicago, IL 60677-1311              $17,316.61
Westhusing, Ronald     Ronald Weshusing                    702 N Maple                        Apt C            Urich, MO 64788 USA                     $90.35
Whitaker, Becky        Becky Whitaker                      3508 Longfords Mill Dr                              Columbia, MO 65203                   $2,674.42
Williams, Mark         Mark Williams                       89 Westwood                                         Branson, MO 65616                      $175.00
Windstream             Windstream                          P.O. Box 9001950                                    Louisville, KY 40290                $22,620.09
Winsby, Amelia B       Winsby Psychological Services       10236 Lamar Ave.                                    Overland Park, KS 66207                 $93.25
X-Spine                XTant Medical                       Dept CH 16872                                       Palantine, IL 60055-6872            $20,665.00
Xerox                  Xerox Financial Systems             P.O. Box 202882                                     Dallas, TX 75320-2882              $113,941.62
Young, Jessica         Jessica Young                       1107 George Ct                     Apt 4            Lawrence, KS 66044 USA                  $80.00
Zack Group             Zack Group                          6600 College Blvd                  STE 300          Overland Park, KS 66211             $14,162.50
Zimmer                 Zimmer US, Inc                      75 Remittance Drive                Suite 6931       Chicago, IL 60675-6931              $34,800.00
TOTAL                                                                                                                                          $10,253,983.83




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 Fill in this information to identify the case:

             Pinnacle Regional Hospital, Inc.
 Debtor name __________________________________________________________________

                                         Kansas City
 United States Bankruptcy Court for the:______________________ District of     Kansas
                                                                               _______
                                                                              (State)
 Case number (If known):     20-20219
                            _________________________                         11
                                                                     Chapter _____



                                                                                                                                        " Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?                      See EX-G-ALL, attached hereto
       "   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       "  Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




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Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
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                                                                                                                                                      EX-G-ALL
                 Facility     Vendor ID                    Category           Vendor                               Address line 1                  Address line 2            City ST ZIP               Location            Physical address
                 BVSA         B.W.S.C., LLC                Rent               B.W.S.C., LLC                        c/o Rubenstein Real Estate Co   6310 Lamar, Ste 220       Overland Park, KS 66202   North Kansas City   8548 N Ambassador Dr. Kansas City, MO 64154
                 BVSA         Dr. Park LLC                 Rent               Dr. Park LLC                         C/O John Riddick, ASI           201 W. Boradway, Bldg #4C Columbia, MO 65203        Columbia            201 W Broadway Building 5, Suite B, Columbia, MO 65203
                 BVH          Karin Metcalf, LLC           Rent               Karin Metcalf, LLC                   PO Box 27250                                              Overland Park, KS 66225   OP Hospital         12850 Metcalf Ave, Overland Park, KS 66213
                 BVSA         LG III, LLC                  Rent               LG III, LLC                          c/o The Wooten Company, LLC     1675 E Seminole St, Ste B Springfield, MO 65804     Springfield         3238 S National Ave, Springfield, MO 65807
                 BVH          Southcreek Bldg              Rent               Southcreek Bldg I:II Associates LP   7200 W 132nd St, Ste 300                                  Overland Park, KS 66213   Admin               12920 Metcalf Ave, Overland Park, KS 66213
                 BVSA         White Oak Investors          Rent               White Oak Investors LLC              PO Box 411299                                             Kansas City, MO 64141     Blue Springs        1052 SW Luttrell RD Suite E, Blue Springs MO 64015
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         Florrisant          6829 Parker Rd. Florissant, MO 63033
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         St Louis            7220 Watson Rd St. Louis, MO 63119
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         Overland Park       12870-12880 Metcalf Ave, Overland Park, KS 66213
                 BVSA         Rojana Realty Invest         Rent               Rojana Realty Investment, Inc        PO Box 4770                                               Olathe , KS 66063         Nevada              13910 W. 54 HWY Nevada, MO 64722
                 BVH          Amundson                     Provider Contact
                 BVH          Bembynista                   Provider Contact
                 BVH          Conigilaro                   Provider Contact
                 BVH          Felton                       Provider Contact
                 BVH          Guillaume                    Provider Contact




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                 BVH          Jones                        Provider Contact
                 BVH          Joseph                       Provider Contact
                 BVH          Margherita                   Provider Contact
                 BVH          McMurray                     Provider Contact
                 BVH          Nigro                        Provider Contact
                 BVH          Peterson                     Provider Contact
                 BVH          Pruitt                       Provider Contact
                 BVH          Putnam Orthopedics           Provider Contact
                 BVH          Rafie                        Provider Contact
                 BVH          Sabih                        Provider Contact
                 BVH          Sand                         Provider Contact




Doc# 157-1
                 BVH          Saurborn                     Provider Contact
                 BVH          Sigler                       Provider Contact
                 BVH          Timmer                       Provider Contact
                 BVH          Westhues                     Provider Contact
                 BVH          Winsby                       Provider Contact
                 BVH          Christina Frye               Labor Contact
                 BVH          Taylor, Lindsay              Labor Contact
                 BVH          Tower Physical Therapy       Labor Contact
                 BVH          Tallgrass                    IT Services
                 BVH          Terminal Cleaning Services   Labor Contact




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          Pinnacle Regional Hospital, Inc.

     Kansas City                   Kansas




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